111 First Street
Bay City, MI 48708


                                   UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Michigan

                                              Case No.: 07−20519−dob
                                                    Chapter: 13

In Re: (NAME OF DEBTOR(S))
   Arnold C. Heath Jr.                                       Angela Sue Heath
   3269 Coolidge Rd                                          3269 Coolidge Rd
   Beaverton, MI 48612−8635                                  Beaverton, MI 48612−8635
Social Security No.:
   xxx−xx−5370                                               xxx−xx−7986
Employer's Tax I.D. No.:


            ORDER DISCHARGING DEBTOR AFTER COMPLETION OF CHAPTER 13 PLAN


The court finds that the debtor filed a petition under title 11, United States Code, on 2/28/07 , that the debtor's plan
has been confirmed, that all allowed claims have been paid substantially in accordance with the plan, that with respect
to secured claims which continue beyond the term of the plan, any pre−petition or post−petition defaults have been
cured and such claims are in all respects current, with no escrow balance, late charges, costs or attorney fees owing,
and that the debtor has fulfilled all requirements under the plan.

IT IS ORDERED THAT:

        1. Pursuant to 11 U.S.C. Section 1328(a), the debtor is discharged from all debts provided for by the
        plan or disallowed under 11 U.S.C. Section 502, except any debt:

                (a) provided for under 11 U.S.C. Section 1322(b)(5) and on which the last payment
                is due after the date on which the final payment under the plan was due:

                (b) in the nature of alimony to, maintenance for, or support of a spouse, former
                spouse, or child of the debtor in connection with a separation agreement, divorce
                decree or other order of a court of record, or property settlement agreement, as
                specified in 11 U.S.C. Section 523(a)(5);

                (c) for a student loan or educational benefit overpayment as specified in 11 U.S.C.
                Section 523(a)(8);

                (d) for a death or personal injury caused by the debtor's unlawful operation of a
                motor vehicle while intoxicated from using alcohol, a drug, or another substance, as
                specified in 11 U.S.C. Section 523(a)(9);

                (e) for restitution included in a sentence on the debtor's conviction of a crime;

                (f) for a fine included in a sentence on the debtor's conviction of a crime, in a case
                commenced on or after October 22, 1994

        2. Pursuant to 11 U.S.C. Section 1328(d), the debtor is not discharged from any debt based on an
        allowed claim filed under 11 U.S.C. Section 1305(a)(2) if prior approval by the trustee of the debtor's
        incurring such debt was practicable and was not obtained.
        3. Notwithstanding the provisions of title 11, United States Code, the debtor is not discharged from
        any debt made non−dischargeable by 18 U.S.C. Section 3613(e), by certain provisions of titles 10,
        37, 38, 42 and 50 of the United States Code, or by any other applicable provision of law.



      07-20519-dob         Doc 72       Filed 12/05/10        Entered 12/06/10 00:53:43             Page 1 of 4
       4. All creditors are prohibited from attempting to collect any debt that has been discharged in this
       case.
       5. All creditors who held secured claims which were fully paid shall execute and deliver to the debtor
       a release, termination statement, discharge of mortgage or other appropriate certificate suitable for
       recording.

       6. All creditors who hold secured claims which continue beyond the term of the plan shall take no
       action inconsistent with the above findings.



Dated: 12/3/10



                                                           BY THE COURT

                                                           /s/ Daniel S. Opperman.BayCity
                                                           Daniel S. Opperman.BayCity
                                                           United States Bankruptcy Judge




      07-20519-dob        Doc 72       Filed 12/05/10       Entered 12/06/10 00:53:43             Page 2 of 4
                          CERTIFICATE OF NOTICE
District/off: 0645-1           User: jkwia                  Page 1 of 2                   Date Rcvd: Dec 03, 2010
Case: 07-20519                 Form ID: ntc13d              Total Noticed: 32

The following entities were noticed by first class mail on Dec 05, 2010.
db            Arnold C. Heath, Jr.,    3269 Coolidge Rd,    Beaverton, MI 48612-8635
jdb           Angela Sue Heath,    3269 Coolidge Rd,    Beaverton, MI 48612-8635
aty          +John Carras,    1605 Ashman Street,    Midland, MI 48640-5451
15007375     +CBM Services,    P.O. Box 551,    Midland, MI 48640-0551
15007376     +CCI,   640 W. Fourth Street,     P.O. Box 5238,    Winston Salem, NC 27113-5238
15007381     +Collect Tech Systems,    31229 Cedar Valley Drive,     Thousand Oaks, CA 91362-4036
15007383     +Consumer’s Energy,    Lansing, MI 48937-0001
15007384      Credit One Bank,    P.O. Box 60500,    City Of Industry, CA 91716-0500
15007386     +Cythia Skiba DDS,    2710 Ashman Street,    Midland, MI 48640-4407
15007387     +E.R. Solutions,    500 SW 7th Street #4100,     P.O. Box 9004,    Acc #1342206,
               Renton, WA 98057-9004
15007388     +Family Practice Center,    2618 W. Sugnet Rd.,     Midland, MI 48640-2647
15007390      I C Systems Inc,    444 Highway 96 East,    P.O. Box 64437,     Acc #X1622615-HC-ST510-999,
               Saint Paul, MN 55164-0437
15007395     +Mid-Michigan Medical Center,     4005 Orchard Drive,    Midland, MI 48670-0001
15007401     +MidMichigan Urgent Care Midland,     4005 Orchard Rd,    Midland, MI 48670-0001
16872225     +Portfolio Recovery Assocs., LLC,     POB 41067,    Norfolk, VA 23541-1067
15007402      Riddle & Associates P.C.,    P.O. Box 1187,     Acc #002578344,    Sandy, UT 84091-1187
15007407      True Logic Financial Corp,     P.O. Box 4387,    Acc #9894656667230,    Englewood, CO 80155-4387
15007409     +Wanigas Federal Credit Union,     1837 Bagley Street,    Saginaw, MI 48601-3196
15007413      Zales Credit Plan,    P.O. Box 689182,    Des Moines, IA 50364-0001
15007414     +Ziehm L.P. Gas,    P.O. Box 437,    Clare, MI 48617-0437
The following entities were noticed by electronic transmission on Dec 03, 2010.
15007368     +EDI: AFNIRECOVERY.COM Dec 03 2010 19:03:00       AFNI,    404 Brock Drive,
               Bloomington, IL 61701-2654
15007371     +EDI: ATTWIREBK.COM Dec 03 2010 18:58:00      AT&T,     P.O. Box 8100,    Aurora, IL 60507-8100
15007374     +EDI: CBCSI.COM Dec 03 2010 19:03:00      CBCS,    P.O. Box 69,     Acc #37225461,
               Columbus, OH 43216-0069
15007373      EDI: CAPITALONE.COM Dec 03 2010 18:58:00       Capital One Services,     P.O. Box 6000,
               Seattle, WA 98190-6000
15007389      EDI: HFC.COM Dec 03 2010 18:58:00      H.S.B.C. Card Services,      P.O. Box 5222,
               Carol Stream, IL 60197-5222
15729028      EDI: RESURGENT.COM Dec 03 2010 19:03:00      LVNV Funding LLC its successors and assigns as,
               assignee of MHC Receivables LLC,    Resurgent Capital Services,      PO Box 10587,
               Greenville, SC 29603-0587
15007391     +E-mail/Text: szehnder@lhcu.org                             Lake Huron Credit Union,
               1540 Tittabawassee,    Saginaw, MI 48604-9445
15007394      EDI: MID8.COM Dec 03 2010 19:03:00      MCM,    P.O. Box 939019,     Acc #8515445135,
               Los Angeles, CA 90084-8870
16872225     +EDI: PRA.COM Dec 03 2010 19:03:00      Portfolio Recovery Assocs., LLC,      POB 41067,
               Norfolk, VA 23541-1067
15572676      EDI: BLINE.COM Dec 03 2010 19:03:00      Roundup Funding, LLC,      MS 550,   PO Box 91121,
               Seattle, WA 98111-9221
15623062      EDI: NEXTEL.COM Dec 03 2010 19:03:00      Sprint Bankruptcy,      P.O. Box 7949,
               Overland Park, KS 66207-0949
15007404      EDI: NEXTEL.COM Dec 03 2010 19:03:00      Sprint PCS,     P.O. Box 361743,    Columbus, OH 43236-1743
15652822      EDI: ECAST.COM Dec 03 2010 18:58:00      eCAST Settlement Corporation assignee of,
               HSBC Bank Nevada NA / HSBC Card,    Services III,     POB 35480,    Newark NJ 07193-5480
                                                                                                 TOTAL: 13
            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
ust            Daniel M. McDermott
15007370       Alltel Communications
15007379       Charter Communications
15007380       Charter Communications
15007403       SBC Ameritech
15007408       Verizon Wireless Messaging Services
15007369*     +AFNI,   404 Brock Drive,    Bloomington, IL 61701-2654
15007377*     +CCI,   640 W. Fourth Street,    P.O. Box 5238,   Winston Salem, NC 27113-5238
15007378*     +CCI,   640 W. Fourth Street,    P.O. Box 5238,   Winston Salem, NC 27113-5238
15007382*     +Collect Tech Systems,    31229 Cedar Valley Drive,    Thousand Oaks, CA 91362-4036
15007385*      Credit One Bank,    P.O. Box 60500,   City Of Industry, CA 91716-0500
15007392*     +Lake Huron Credit Union,    1540 Tittabawassee,    Saginaw, MI 48604-9445
15007393*     +Lake Huron Credit Union,    1540 Tittabawassee,    Saginaw, MI 48604-9445
15007396*     +Mid-Michigan Medical Center,    4005 Orchard Drive,    Midland, MI 48670-0001
15007397*     +Mid-Michigan Medical Center,    4005 Orchard Drive,    Midland, MI 48670-0001
15007398*     +Mid-Michigan Medical Center,    4005 Orchard Drive,    Midland, MI 48670-0001
15007399*     +Mid-Michigan Medical Center,    4005 Orchard Drive,    Midland, MI 48670-0001
15007400*     +Mid-Michigan Medical Center,    4005 Orchard Drive,    Midland, MI 48670-0001
15007405*      Sprint PCS,   P.O. Box 361743,    Columbus, OH 43236-1743
15007406*      Sprint PCS,   P.O. Box 361743,    Columbus, OH 43236-1743
15007410*     +Wanigas Federal Credit Union,    1837 Bagley Street,    Saginaw, MI 48601-3196
15007411*     +Wanigas Federal Credit Union,    1837 Bagley Street,    Saginaw, MI 48601-3196
15007412*     +Wanigas Federal Credit Union,    1837 Bagley Street,    Saginaw, MI 48601-3196
15007372    ##+Campbell Properties and Trust,    713 Ashman Street,    P.O. Box 2558,    Midland, MI 48641-2558
                                                                                               TOTALS: 6, * 17, ## 1
Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.



            07-20519-dob     Doc 72     Filed 12/05/10     Entered 12/06/10 00:53:43         Page 3 of 4
 District/off: 0645-1                  User: jkwia                        Page 2 of 2                          Date Rcvd: Dec 03, 2010
 Case: 07-20519                        Form ID: ntc13d                    Total Noticed: 32

               ***** BYPASSED RECIPIENTS (continued) *****
 Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
 will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
 debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Dec 05, 2010                                       Signature:




             07-20519-dob           Doc 72        Filed 12/05/10         Entered 12/06/10 00:53:43                Page 4 of 4
